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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF OREGON
                         PORTLAND DIVISION


NADIA ROBERTS,                         Case No.
an individual,

       PLAINTIFF,
                                       COMPLAINT
v.

SEJ ASSET MANAGEMENT &
INVESTMENT COMPANY,
a corporation,

        DEFENDANT.



                                  COMPLAINT

       Plaintiff Nadia Roberts (“Roberts” or “Plaintiff”) hereby sues Defendant,

SEJ ASSET MANAGEMENT & INVESTMENT COMPANY, a corporation,

(hereinafter “Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C.
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§ 12181 et seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                         PRELIMINARY STATEMENT

      1.     Though not required by the ADA, Plaintiff attempted to resolve this

matter prior to filing the present complaint but was unable to do so.

      2.     Defendant’s ADA violations create real and significant barriers to

entry for disabled persons such as Plaintiff. Pursuant to Title III of the ADA,

Plaintiff seeks declaratory and injunctive relief requiring Defendant to (1) remedy

the violations identified herein and (2) enact and adhere to a policy that ensures the

proper maintenance of the property to avoid future ADA violations.

                        JURISDICTION AND PARTIES

      3.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendant, SEJ ASSET MANAGEMENT &

INVESTMENT COMPANY’s, failure to remove physical barriers to access and

violations of Title III of the ADA.

      4.     Venue is properly located in the DISTRICT COURT OF OREGON IN

THE PORTLAND DIVISION pursuant to 28 U.S.C. § 1391(b) because venue lies

in the judicial district of the property situs or the judicial district in which a


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substantial part of the events or omissions giving rise to Plaintiff’s claims occurred.

The Defendant’s property is located in and does business within this judicial district

and all events giving rise to this lawsuit occurred in this judicial district.

      5.     Plaintiff, Nadia Roberts, is and has been at all times relevant to the

instant matter, a natural person residing in Oregon and is sui juris.

      6.     Plaintiff is an individual with disabilities as defined by the ADA.

      7.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

      8.     Plaintiff uses a wheelchair for mobility purposes.

      9.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make her home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).




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       10.    Defendant, SEJ ASSET MANAGEMENT & INVESTMENT

COMPANY, is a corporation conducting business in the State of Oregon and within

this judicial district.

                           FACTUAL ALLEGATIONS

       11.    On or about January of 2023, Plaintiff attempted to but was deterred

from patronizing and/or gaining equal access as a disabled patron to the 7-Eleven

Convenience Store located at 4715 Southwest Murray Boulevard, Beaverton, OR

97005 (“Subject Facility”, “Subject Property”).

       12.    SEJ ASSET MANAGEMENT & INVESTMENT COMPANY is the

owner, lessor, and/or operator/lessee of the real property and improvements that are

the subject of this action, specifically the 7-Eleven Convenience Store and its

attendant facilities, including vehicular parking and common exterior paths of travel

within the site identified by the Washington County Assessor parcel identification

number R1225597 (“Subject Facility”, “Subject Property”).

       13.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on SW Murray Blvd., a Washington County

thoroughfare that she frequents routinely, she is routinely where the Subject Property

is located and travels in and about the immediate area of the Subject Property

numerous times every month, if not every week.




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      14.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of her

disabilities, and she will be denied and/or limited in the future unless and until

Defendant, SEJ ASSET MANAGEMENT & INVESTMENT COMPANY, is

compelled to remove the physical barriers to access and correct the ADA violations

that exist at the Subject Property, including those set forth in this Complaint.

      15.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron (i.e.), to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      16.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose her self to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public




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accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      17.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

      18.    Plaintiff has a fundamental right as established under the ADA to

patronize any place of public accommodation as any person who is not disabled has.

      19.    Plaintiff’s day-to-day life has been negatively affected by the barriers

to entry at the Subject Property, as her fundamental right to patronize any place of

public accommodation at her choosing has been diminished by Defendant’s non-

compliance with the ADA.

      20.    Plaintiff has no obligation to only patronize places of public

accommodation that are ADA compliant.

      21.    If barriers to entry are not removed at the Subject Property, it will place

undue hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to

“search” for a place of public accommodation to patronize that is ADA compliant.




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              COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                 (Against Defendant for ADA Violations)

     22.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

     23.    The Subject Property is a public accommodation and service

establishment.

     24.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     25.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     26.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in her capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit her
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access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     28.     Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of her disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit her access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     29.     Defendant, SEJ ASSET MANAGEMENT & INVESTMENT

COMPANY, has discriminated against Plaintiff (and others with disabilities) by

denying her access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Subject Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42

U.S.C. § 12182(b)(2)(A)(iv).




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     30.    Defendant, SEJ ASSET MANAGEMENT & INVESTMENT

COMPANY, will continue to discriminate against Plaintiff and others with

disabilities unless and until SEJ ASSET MANAGEMENT & INVESTMENT

COMPANY is compelled to remove all physical barriers that exist at the Subject

Property, including those specifically set forth herein, and make the Subject

Property accessible to and usable by Plaintiff and other persons with disabilities.

     31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)
            a. There is no van-accessible parking present in violation

               of Section 4.6 of the 1991 ADAAG and Section 502 of

               the 2010 ADAAG. These violations made it dangerous

               for Plaintiff to utilize the parking facility at the Subject

               Property and caused Plaintiff loss of opportunity.

            b. The access aisle is too narrow in violation of Section

               4.1 of the 1991 ADAAG and Section 503 of the 2010

               ADAAG. These violations made it dangerous for

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       Plaintiff to utilize the parking facility at the Subject

       Property and caused Plaintiff loss of opportunity.

    c. There is no van-accessible parking identified as such

       with upright “Van Accessible” signage in violation of

       Section 4.6 of the 1991 ADAAG and Sections 208, 302

       and 502 of the 2010 ADAAG. These violations made

       it dangerous for Plaintiff to utilize the parking facility

       at the Subject Property and caused Plaintiff loss of

       opportunity.

    d. The is no visible upright signage (displaying the

       International Symbol of Accessibility) designating

       parking space as accessible in violation of Section 4.6

       of the 1991 ADAAG and Section 502 of the 2010

       ADAAG. These violations made it dangerous for

       Plaintiff to utilize the parking facility at the Subject

       Property and caused Plaintiff loss of opportunity.

    e. The paint delineating the designated accessible parking

       space and access aisle is not being maintained so that it

       clearly marks the accessible parking location in

       violation of 28 CFR § 36.211, Section 4.6 of the 1991

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       ADAAG, and Section 502.3.3 of the 2010 ADAAG.

       These violations made it dangerous for Plaintiff to

       utilize the parking facility at the Subject Property and

       caused Plaintiff loss of opportunity.

    f. The purported accessible parking space is not level in

       all directions and has areas of uneven, broken, and

       cracked pavement because of Defendant’s history and

       practice of failing to inspect and maintain the parking

       surface in violation of 28 CFR § 36.211, Sections 4.5.1

       and 4.6.3 of the 1991 ADAAG and Sections 302 and

       502.4 of the 2010 ADAAG. These violations made it

       dangerous for Plaintiff to utilize the parking facility at

       the Subject Property and caused Plaintiff loss of

       opportunity.

    g. The purported accessible aisle is not level in all

       directions and has areas of uneven, broken, and cracked

       pavement because of Defendant’s history and practice

       of failing to inspect and maintain the parking surface in

       violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3

       of the 1991 ADAAG and Sections 302 and 502.4 of the

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       2010 ADAAG. These violations made it dangerous for

       Plaintiff to utilize the parking facility at the Subject

       Property and caused Plaintiff loss of opportunity.

    h. There is no accessible route provided within the site

       from the public sidewalk which serves the Subject

       Facility. Violation: There is no accessible route

       connecting the public sidewalk serving the subject

       facility and any accessible entrance(s) in violation of

       Section 4.3.2 of the 1991 ADAAG and Section 206.2.1

       of the 2010 ADAAG. These violations made it

       dangerous for Plaintiff to utilize the parking facility at

       the Subject Property and caused Plaintiff loss of

       opportunity.

    i. The accessible route along the storefront curb on the

       Subject Facility was obstructed by vehicles parked in

       spaces abutting the accessible route because no parking

       stops are provided at said parking spaces. This allows

       parked vehicle overhangs to reduce the width of the

       path of travel to less than 36 inches wide for more than

       24 linear inches in violation of Section 4.3 of the 1991

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       ADAAG and Section 403.5.1 of the 2010 ADAAG.

       These violations made it dangerous for Plaintiff to

       utilize the parking facility at the Subject Property and

       caused Plaintiff loss of opportunity.

                  MAINTENANCE PRACTICES

    a. Defendant has a practice of failing to maintain the

       accessible features of the facility, creating barriers to

       access for the Plaintiff, as set forth herein, in violation

       of 28 CFR § 36.211. This practice prevented access to

       the plaintiff equal to that of Defendant’s able-bodied

       customers causing Plaintiff loss of opportunity.

    b. Defendant has a practice of failing to maintain the

       accessible elements at the Subject Facility by

       neglecting their continuing duty to review, inspect, and

       discover transient accessible elements which by the

       nature of their design or placement, frequency of usage,

       exposure to weather and/or other factors, are prone to

       shift from compliant to noncompliant so that said

       elements may be discovered and remediated.




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    c. Defendant has failed and continues to fail to alter their

       inadequate maintenance practices to prevent future

       recurrence of noncompliance with dynamic accessible

       elements at the Subject Facility in violation of 28 CFR

       § 36.211, the 1991 ADAAG, and the 2010 ADAAG.

       These violations, as set forth hereinabove, made it

       impossible for Plaintiff to experience the same access

       to the goods, services, facilities, privileges, advantages

       and accommodations of the Subject Facility as

       Defendant’s able-bodied patrons and caused Plaintiff

       loss of opportunity.

    d. Defendant has failed to modify their discriminatory

       maintenance practices to ensure that, pursuant to their

       continuing duty under the ADA, the Subject Property

       remains readily accessible to and usable by disabled

       individuals, including Plaintiff, as set forth herein, in

       violation of 28 CFR § 36.302 and 36.211. This failure

       by Defendant prevented access to the plaintiff equal to

       that of Defendant’s able-bodied customers causing

       Plaintiff loss of opportunity.

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      32.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings or personal observation, Plaintiff has actual notice

that the Defendant does not intend to comply with the ADA.

      33.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting their continuing duty to review,

inspect, and discover transient accessible elements which by the nature of its design

or placement, frequency of usage, exposure to weather and/or other factors, are

prone to shift from compliant to noncompliant, so that said elements are discovered

and remediated. Defendant has failed and continue to fail to alter their inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,
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privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      34.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      35.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      36.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      38.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.




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      39.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      40.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      41.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprive Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      42.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for their places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

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maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      43.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant, SEJ ASSET MANAGEMENT & INVESTMENT

COMPANY, is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Subject Property, including those alleged herein.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy

in equity is warranted.

      44.    Plaintiff’s requested relief serves the public interest.

      45.    Plaintiff’s counsel is entitled to recover her reasonable attorneys’ fees

and costs of litigation from Defendant, SEJ ASSET MANAGEMENT &

INVESTMENT COMPANY, pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR

36.505. Plaintiff will be denied full and equal access to the subject premises, as

provided by the ADA unless the injunctive relief requested herein is granted.

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      46.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill their continuing duty

to maintain the accessible features at the premises in the future as mandated by 28

CFR 36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.      That    the   Court     find   Defendant,      SEJ    ASSET

              MANAGEMENT & INVESTMENT COMPANY, in

              violation of the ADA and ADAAG;

      B.      That the Court enter an Order requiring Defendant, SEJ

              ASSET         MANAGEMENT              &      INVESTMENT

              COMPANY, to (i) remove the physical barriers to access

              and (ii) alter the Subject Property to make the Subject

              Property readily accessible to and useable by individuals

              with disabilities to the full extent required by Title III of

              the ADA;

       C.     That the Court enter an Order directing Defendant,

              pursuant to 28 C.F.R. §36.211, to fulfill their continuing

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     duty to maintain their accessible features and equipment

     so that the facility remains accessible to and useable by

     individuals with disabilities to the full extent required by

     Title III of the ADA;

D.   That the Court enter an Order directing Defendant to

     implement and carry out effective policies, practices, and

     procedures to maintain the accessible features and

     equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.

     §36.211;

E.   That the Court enter an Order directing Defendant to

     evaluate and neutralize their policies and procedures

     towards persons with disabilities for such reasonable time

     so as to allow them to undertake and complete corrective

     procedures;

F.   An award of attorneys’ fees, costs (including expert fees),

     and litigation expenses pursuant to 42 U.S.C. § 12205 and

     an award of monitoring fees associated with insuring that

     the Defendant is in compliance with the ADA;

G.   An award of interest upon the original sums of said award

     of attorneys’ fees, costs (including expert fees), and other

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           expenses of suit; and

     H.    Such other relief as the Court deems just and proper,

           and/or is allowable under Title III of the Americans with

           Disabilities Act.



Dated: November 6, 2023.


                               Respectfully submitted,



                               By: s/ David S. Foster
                               David Foster, Esq.
                               Counsel for Plaintiff
                               OSB No.: 033166
                               Telephone: 503-927-6440
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DEFENDANT TO BE SERVED:
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